Case 6:17-cv-01001-DCl

Document 1-2

Filed 06/02/17 Page 1of 1 PagelD 39

JS44 (Rev. 11/15) CIVIL COVER SHEET
The |S 4 44 civil cover sheet and Pleadings
ro CO ES aS “Tho ta agvovally de cal fal Cares of Unies Ses Sepa 97 Haan FN ee Fe cecor cant irae

IL. @) PLAINTIFFS ohn Porfee son Jasnrier

S35 Mencia Rose Dr. At #703
Apop a, Fz 3A7CZ

) Comty of Residence of Fist Listed Paint Oro ng
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Fim Name, Address, and Telephone Number)

DEFENDANTS ~,// Cow/es
SUperri sor or Elections

County of Residence of First Listed Defadnt _ OANG@,

(INU. PLAINTIFF CASES ONLY) /
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attomeys (if Known)

Nic ho/as Shannan B.S

aly Fact Lncerne Circle,

Yor~65-39) a” ihe, 20¢ Or/arde, ft, 3280]

If. BASIS OF JURISDICTION etacean <x" inOne Box Only)

Wil. CITIZENSHIP OF PRINCIPAL PARTIES (ace an “X* in One Box for Plan

(For Diversity Cases Only) and One Bax for Defereiart)
1 U.S. Govenment 03 Federal Question PTF DEF DEF
Plaiuitt (U.S, Goverranent Nat a Party} Citizen of This State gio1 or Principal Pince 4 04
of Business In This State
bs U.S. Government 04 Diversity Citizen of Another State 2 O 2 Incopanted aud Principal Place os os
Defendant (Iraticate Citizenship of Parties in Item Hil) of Business In Another State
Citizen or Subject of a O03 O 3 Forign Natio o6 o6
Foreign Country
IV. NATURE OF SUIT lace an “x™ in One Box Only)
I CONTRACT TORTS _ FORFETUREPENALTY | HANKROPTCY [OTR STATUTES]
O 110 Insurance PERSONAL INJURY PERSONAL INJURY }0 625 Drug Reisted Seiaze © 422 Appeal 28 USC 158 O 2375 Fale Claims Act
© 120 Marine O 310 Airplane CO 365 Persone! Injury - of Propaty 21 USC 881 | 423 Withdamwal 0) 376 Qui Tem (31 USC
O 130 Miller Act 0 315 Airplane Product Product Lizbility © 0 Other 28 USC 157 3729@))
© 140 Negotiable Instrument Lishility 0 367 Health Cares
0 150 Recovery of O 320 Assault, Libel & i PROPERTY RIGHES
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights GO 430 Bants and Banking
O 151 Medicare Act © 330 Fedem! Employes’ Prodkkxct Li O 830 Patent GC 450 Commerce
OC 152 Recovery of Defautted Lihility D368 Asbestos Personal O 840 Trademark © 460 Deportation
Student Loans 0 340 Marine Injury Product 0 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Lishility Comupt Organizations
0 153 Recovery of Overpayment Liahility PERSONAL PROPERTY [0 710 Fair Labor Standards C 861 HIA (1385) O 480 Consumer Credit
of Veteran's Benefits 1 350 Motor Vehicle 0 370 Othe Fran Act CO) 862 Black Lung (923) G 490 Cable/Sat TV
1 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Tnah in Lending 0 720 Labor/Management © 863 DIWC/DIWW (405(@))_ | C) 850 Searities/Commodities/
© 190 Other Contact Product Liability C3 380 Other Personal Relations OG 864 SSID Title XVI Exchange
© 195 Contract Product Liahility |() 360 Other Personal Property Darage © 740 Railway Labor Act 0 865 RSI (405i) CO 890 Other Steuztory Actions
© 196 Franchise Injwy © 385 Property Damage © 751 Family and Medical © 891 Agricularal Acts
O 362 Personal Injury - Product Lishility Leave Act ©) 893 Environmental Matters
Medical 0 790 Other Labor Litigation CO 895 Freedom of Infamration
REAL PRO} CIV RIGHTS PRISONER PETITIONS [CI 791 Employee Retirement FEDERAL TAX SULIS Act
O 210 Land Condermation C440 Other Civil Rights Habeas Incame Security Act O 870 Taxes (US. Plaintiff CO} 896 Arbitration
© 220 Foreclosure 441 Voting 0 463 Alien Detainee or Defeat) 0 899 Administrative Procedure
G 230 Rent Lesse & Ejectnent «=| 0 442 Employment © 510 Motions to Vacate O 871 IRS—Thind Party Act/Review or Appeal of
C1 240 Tarts to Land O 443 Hosing/ Sentence 26 USC 7609 Agency Decision
C1 245 Test Product Liahility Accommodations 0 530 General C1 950 Canstinitionality of
© 290 All Other Real Property | 0) 445 Amer. w/Disabilities -/ 535 Death Penalty THMIGHATION State Statutes
: Employment Other: 0 4€2 Nanwatization Application
0 446 Amer. w/Disahilities -| 540 Mandxrus & Other © 465 Other Lrergeaion
Other 1 550 Civil Rights
0 448 Edueation 0 555 Prison Condition
C1 S60 Civil Detainee -
Conditions of
Confinement

¥V.. ORIGIN (Place an “x" in One Box Only)
Original o2 Removed from

G 3 Remanded from
Proceeding Appellate Court

(

O 4 Reinstateder O 5 Transferedfrom © 6 Miultidistrict
R ; oe Sct ee

Cite the U.S. Civil Si
Vi. CAUSE OF ACTION

under which, ae il

pot cite

i“ Aa be 200

miesapin erase Appen| F: ral Deteminoftron Lot hemovedch Eps USER

VIl. REQUESTED IN (© CHECKIFTHISISACLASS ACTION | DEMAND$ V 7] A CHECK YES only if demanded in oer
COMPLAINT: UNDER RULE 23, F.R.CVP. JURY DEMAND: Oo Yes 0
VIII. RELATED CASE(S) . PATS CIA Lo. SProwb rid ee Rolé -CV -ocay4 -4 ~O
IF ANY ~_ * yopce Lubet and peHerfy, ~ DOCKETNUMBER 20/6 -c,A-ce W64-9
‘DATE SIGNATURE OF ATTORNEY OF RECORD
TOPOFFICE USE ONLY
RECEIPT # AMOUNT JUDGE MAG. JUDGE

APPLYING IFP

